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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                                     CASE NO: 6:06-cr-22-Orl-22LRH

    JASON E. MADOW



                                                 ORDER
           This cause came on for consideration of the file. On November 17, 2020 and December 3,

    2020, the Presiding District Judge issued Orders in this case. (Docs. 101, 104). The Clerk’s office

    duly mailed copies of both Orders to Defendant Jason E. Madow, who is proceeding pro se. (Id.).

    Both Orders have now been returned as undeliverable, with no forwarding address.            In the

    meantime, on December 3, 2020, Defendant filed a motion related to the pending garnishment

    proceedings. (Doc. 106). The address Defendant lists on his motion is the same address the

    Clerk’s office mailed the prior Orders which were returned as undeliverable.

           Accordingly, within ten (10) days from the date of this Order, Defendant shall file with the

    Court a notice stating his correct current address, and explaining why Defendant’s December 3,

    2020 motion should not be denied for failure to keep the Court advised of his current address.

           DONE and ORDERED in Orlando, Florida on December 29, 2020.
